 

Case 3:19-cr-00483-N Document 49 Filed 10/07/21 Page 1 of 1) RagaIDd zak tok

PETC P Op Pry.
IN THE UNITED STATES DISTRICT COURT Mipp US
FOR THE NORTHERN DISTRICT OF TEXAS | ocr =7 an]

 

DALLAS DIVISION

CLERK. US. DUISTERA( OER]
| By WY
_ Deputy ~ |

CASE NO.: 3:19-CR-00483-N

UNITED STATES OF AMERICA

 

 

Vv.

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XAVION DOMINIQUE JACKSON (1)

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

XAVION DOMINIQUE JACKSON (1), by consent, under authority of United States v. Dees, 125 F.3d 261
(5th Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1 and
2 of the Superseding Indictment After cautioning and examining XAVION DOMINIQUE JACKSON under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary
and that the offense(s) charged are supported by an independent basis in fact containing each of the essential elements of
such offense. I therefore recommend that the plea of guilty be accepted, and that XAVION DOMINIQUE JACKSON
be adjudged guilty of 18 U.S.C. § 2113(a) and (d) Bank Robbery and 18 U.S.C. § 924(c)(1)(A)(ii) Possessing and
Brandishing a Firearm in Furtherance of a Crime of Violence and have sentence imposed accordingly. After being found
guilty of the offensesby the district judge,

The defendant is currently in custody and should be ordered to remain in custody.

0 The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community

if released.

5 The Government does not oppose release.

0 The defendant has been compliant with the current conditions of release.

0 I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any

other person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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C The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing

 

evidence that the defendant is not likely to flee or pose a danger to any other person orthe unity if released.
Date: October 7, 2021 C
ED STATEYMAISTRATE JUDGE
NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
